      Case 1-17-40716-ess             Doc 105       Filed 05/21/18        Entered 05/21/18 11:14:01




                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF NEW YORK

In re:                                                                 Chapter 11

THE FRESH ICE CREAM COMPANY, LLC                                       17-40716 (ESS)
d/b/a Craft Collective
d/b/a Steve’s Ice Cream


                   BANKRUPTCY CLOSING REPORT CHAPTER 11
______________________________________________________________________________
To the best of my knowledge and belief, the following is a breakdown in this case:

FEES AND EXPENSES (From case inception):

$ 110,005.20                       FEES AND EXPENSES FOR ATTORNEY FOR DEBTOR

$102,437.22                         OTHER PROFESSIONAL FEES and ALL EXPENSES
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      n/a                          TRUSTEE FEE (if applicable)

    n/a                 ATTORNEY FOR TRUSTEE (if applicable)
______________________________________________________________________________

  X         PLAN CONFIRMED                            $YES             CREDITOR DIVIDENDS PAID
                                                                       - 100% to Admin, Secured and
                                                                         Priority
                                                                       - 3/3% to General Unsecured

            PLAN NOT CONFIRMED                        $ N/A            FUTURE DIVIDENDS

STEPS TAKEN TO CONSUMMATE PLAN:

  X    Distributions under the Plan completed
       Other (explain)
______________________________________________________________________________
Dated: White Plains, New York                        DELBELLO DONNELLAN WEINGARTEN
       May 18, 2018                                  WISE & WIEDERKEHR, LLP
                                                     Attorneys for the Reorganized Debtor
                                                     One North Lexington Ave.
                                                     White Plains, New York 10601
                                                     (914) 681-0200

                                                      BY:_/s/ Jonathan S. Pasternak
                                                             Jonathan S. Pasternak
